                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


KAREN BARSANTI,

                            Plaintiff,
              v.

ALLSTATE INSURANCE COMPANY,

                           Defendant.
                                                 Case No. 3:12-cv-00074-SLG

                                         ORDER

      Upon consideration of the parties’ Stipulation for Dismissal with Prejudice

(Docket 18), this matter is hereby DISMISSED with prejudice. Each side shall bear its

own costs and attorneys’ fees. Further, IT IS ORDERED that the trial-setting

conference scheduled for February 14, 2013 is VACATED.


      DATED at Anchorage, Alaska this 25th day of January, 2013.

                                                      /s/ Sharon L. Gleason
                                                      United States District Judge




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